10/22/2024

Fitgerald Settlement
Notice ID 28745459
Pin 516 745 219

Vickie Thornhill
2639 Treadway Dr
Decatur, GA 30034

404-922-7790

Fitgerald Settlement

CLERK'S OFFICE U.S. DISTRICT COURT
AT CHARLOTTESVILLE, VA
FILED

NOV |

8 2024
i 7

| would like to be excluded. | request to be excluded from the

class settlement in the case.
NOV Ys ine: Tesla \ \

te BF TRA LAY he
Wecasur, Cy 3O03Y

US POSTAGE

Cream Oo] Couct
Lr Desxre tn Sy AUIC+ os VA
yas Ls MAan Sx,

C WAZ OSNeSi \e VA 33909

